                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                      )
                                              )       Case No. 1:10-CR-34
vs.                                           )
                                              )
LEVAR WILLIAMS                                )       COLLIER/CARTER


                             REPORT AND RECOMMENDATION

         Defendant Levar Williams’ motion to suppress evidence from interception of wire

communications [Doc. 330] is before the undersigned Magistrate Judge for a report and

recommendation having been referred by the District Court pursuant to 28 U.S.C. § 636(b)(1)(B)

& (C). The undersigned is asked to consider: 1) whether the government proved necessity, as

constitutionally and statutorily required and 2) whether the affidavit in support of the intercept

order was based on sufficient and /or reliable evidence. For reasons that follow, I conclude the

government met its burden on both of those issues and therefore RECOMMEND defendant’s

motion to suppress evidence from interception of wire communications be DENIED.

                                           I. Background

         The wiretap order approving interception which is the subject of this motion was signed

on December 23, 2009 by United States District Judge Harry S. Mattice, Jr. Special Agent Frank

C. Ledford of the Drug Enforcement Administration (DEA), Field Office in Chattanooga,

Tennessee gave the affidavit used to obtain the wiretap at issue. Some of the information

contained in the affidavit came from Sammy McNelley, a former agent with the 10th Judicial

Drug Task Force. Concerning Sammy McNelley, SA Ledford stated:



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       Sammy McNelley had originally prepared an affidavit for the interception of wire
       and electronic communications in this case. He was recently terminated from his
       employment with the Tenth Judicial Drug Task Force, which disqualified him
       from further participation as a DEA Task Force officer. My understanding is that
       he was terminated for causing "dissension" within the Tenth Judicial Drug Task
       Force and for improper use of a Task Force-issued cell phone. I do not have
       reason to believe that McNelley has been dishonest or committed a crime. At this
       writing, McNelley is appealing the decision to terminate his employment.
       McNelley was the DEA "case agent" for the investigation discussed herein and I
       have relied extensively on information provided by him for this affidavit. In my
       opinion, the integrity of all aspects of the investigation, including the matters
       discussed in this affidavit, is sound.

Ledford Affidavit Doc. 137-1, p4 n.1.

                                            II. Analysis

       Defendant seeks suppression of evidence derived from the federal court authorized

wiretap. I will address the two issues presented.

                                           A. Necessity

       Defendant argues the wiretap affidavit fails to establish necessity. In order to obtain a

wiretap, the government must overcome the statutory presumption against this intrusive

investigative method by proving necessity. United States v. Blackmon, 273 F.3d 1204, 1207 (9th

Cir. 2001). According to 18 U.S.C. §2518(1)(c), the government may establish necessity for a

wiretap by any of three alternative methods. In order to demonstrate the "necessity" of the

wiretap, the government must provide a "full and complete" statement that traditional

investigative procedures (1) have been tried and failed; (2) reasonably appear unlikely to succeed

if tried; or (3) are too dangerous to try. United States v. Gonzalez. Inc., 412 F.3d 1102, 1112 (9th

Cir. 2005).

       This “necessity” requirement, is designed to ensure that



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       wiretaps are not to be used thoughtlessly or in a dragnet fashion. As our court has
       said, what is needed is to show that wiretaps are not being ‘routinely employed as
       the initial step in criminal investigation.’ However, the government is not required
       to prove that every other conceivable method has been tried and failed or that all
       avenues of investigation have been exhausted.

Alfano, 838 at 163 (quoting United States v. Giordano, 416 U.S. 505, 515 (1974)). The

necessity requirement is “simply designed to assure that wiretapping is not resorted to in

situations where traditional investigative techniques would suffice to expose the crime.” United

States v. Robertson, 504 F.2d 289, 293 (5th Cir.1974). “The requirement that there be disclosure

as to the use, success, and potential success of other investigative techniques, however, does not

mean ‘that any particular investigative procedures [must] be exhausted before a wiretap may be

authorized.’” United States v. Young, 822 F.2d 1234, 1237 (2nd Cir.1987). A wiretap

authorization order is presumed proper, and a defendant carries the burden of overcoming this

presumption. United States v. Quintana, 70 F.3d 1167, 1169 (10th Cir. 1995). The Sixth Circuit

has explained the requirements of the necessity provisions for the Title III statute:

       These provisions do not require that the police officials exhaust every conceivable
       non-wiretap investigative technique. All that is required is that the investigators
       give serious consideration to the non-wiretap techniques prior to applying for
       wiretap authority and that the court be informed of the reasons for the
       investigators’ belief that such non-wiretap techniques have been or will likely be
       inadequate.

United States v. Lambert, 771 F.2d 83 (6th Cir. 1985) (citations omitted).

       The Sixth Circuit has recognized the unique value of the wiretap in fully investigating

telephone-dependent criminal conspiracies:

       [T]he mere fact that some investigative techniques were successful in uncovering
       evidence of wrongdoing does not mandate that a court negate the need for wiretap
       surveillance. We have previously recognized that “wiretapping is particularly
       appropriate when the telephone is routinely relied on to conduct the criminal


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       enterprise under investigation.” United States v. Landmesser, 553 F.2d 17, 20 (6th
       Cir.1977) (quoting United States v. Steinberg, 525 F.2d 1126, 1130 (2d
       Cir.1975)).

United States v. Stewart, 306 F.3d 295, 305-06 (6th Cir. 2002).

       The defendant’s challenge, based on lack of necessity, rests on facts contained in the

affidavit. He points out that numerous controlled purchases of drugs from him and others, as

well as physical surveillance, had established, prior to the wire intercepts, viable cases against the

defendant and those others. The defendant states that investigators had become aware of three

separate possible sources of supply for drugs to him prior to the wiretap. But the reality is that

there was no case existing against one of the defendant’s sources, named co-defendant Demetrius

Byrd, prior to the wiretap, and the wiretap itself established the absence of viable cases against

others presumed to have been the defendant’s suppliers. Moreover, the government argues the

wiretap established that the amounts of drugs the defendant obtained and distributed were

actually smaller than what had been presumed based upon the pre-wiretap investigation. In

investigating a conspiracy case, the “necessity for the wiretap is evaluated in light of the

government's need not merely to collect some evidence, but to ‘develop an effective case against

those involved in the conspiracy.’ ” United States v. Decoud, 456 F.3d 996, 1007 (9th Cir.2006)

(quoting United States v. Brone, 792 F.2d 1504, 1506 (9th Cir.1986)). Thus, courts will find

“necessity where traditional investigative techniques lead only to apprehension and prosecution

of the main conspirators, but not to apprehension and prosecution of ... other satellite

conspirators.’ ” United States v. McGuire, 307 F.3d 1192, 1198 (9th Cir. 2002) (quoting United

States v. Torres, 908 F.2d 1417, 1422 (9th Cir. 1990)).




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       The Affidavit in support of the wiretap specifically addresses the issue of necessity in

paragraphs 92 through 95 [Affidavit, Doc 352-1, pp. 51-52]:


       92. Based on my training and experience, it is my belief that the interception of
       wire and electronic communications over TT1, used in conjunction with other
       investigative techniques, is the only available mechanism with a reasonable
       likelihood of identifying the entire organization operating in Cleveland and
       Chattanooga, Tennessee, and elsewhere. This method will also assist agents in
       attaining the sources of the organization's illegal drugs, which is believed to be
       based in Chattanooga, Tennessee. It is likely that suppliers in Chattanooga are
       supplied by a person or persons in a larger source city; typically in this area,
       Atlanta, Georgia. I am aware of other drug investigations in which
       Chattanooga-based cocaine Sources of Supply received cocaine from Texas and
       from Nashville, Tennessee, as well. It is my belief that the interception of said
       wire and electronic communications is the only available technique with a
       reasonable likelihood of securing the evidence necessary to prove beyond a
       reasonable doubt that the listed members and others yet unknown, including
       sources of supply for drugs, are engaged in the above-described offenses. It is my
       belief that the interception of wire and electronic communications will produce
       evidence that will identify stash houses, sources of supply, and the specifics of the
       transportation of controlled substances. Numerous investigative procedures that
       are usually employed in investigations of this type of criminal case have been tried
       and failed, reasonably appear unlikely to succeed or have minimal success if they
       are tried, or are too dangerous to employ.

       93. The interception of wire and electronic communications on TT1 is the only
       effective way investigators can positively identify the source(s) of supply for this
       organization and other co-conspirators involved in the distribution of controlled
       substances.

       94. The principle investigative goals of the requested monitoring of wire and
       electronic communications include the identification of all of the individuals
       involved in this drug trafficking organization, the structure and elements of the
       organization in which WILLIAMS and others appear to be participants, as well as
       the source(s) of supply of cocaine base (crack cocaine) being trafficked by the
       targets of this investigation. The investigative goals include acquiring sufficient
       evidence to make prosecutable cases against the participants in the organization as
       well as the suppliers to the organization. The organization's immediate sources of
       supply appear to be in Chattanooga, Tennessee. Currently, investigators know
       very little about the full scope of the criminal activity of such persons and there is
       at this time insufficient evidence to proceed to prosecution against the suspected


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       suppliers, according to the Assistant United States Attorney with whom I have
       consulted in this case. The requested Court authorization would enable
       investigators to pursue these sources of supply which, to date, have been beyond
       positive identification and/or prosecution.

       95. All of the above named interceptees have been linked to telephones that
       appear on the pen register activity for TT1. The frequency and the duration, as
       well as the content where available, of the calls, demonstrate, in my opinion, that
       TTI is in contact with the other telephones for the purpose of furthering illegal
       activity; specifically, the listed offenses above.

       The unavailability of alternative investigative techniques is set out in pages 52-63 of the

Affidavit in paragraphs 96-112.

       I conclude that this information, specifically set out in the affidavit, adequately addresses

the necessity requirement and therefore Defendant’s argument fails.

                                         B. Probable Cause

       Next, defendant argues the affidavit lacks sufficient reliable evidence to support probable

cause for the wiretap. Specifically, defendant argues that “if, in fact, SA Ledford has relied

heavily on Mr. McNelley, as seems to be indicated, for the interpretation of important

conversations and evidence, then the credibility and reliability of Mr. McNelley is a critical

issue” in determining whether the affidavit supports probable cause. (Defendant Williams’

Supporting Memorandum at 7, Doc. 331). Defendant has produced no information to indicate

that SA McNelley was untruthful or unreliable, and SA Ledford is entitled to rely on information

from fellow officers in preparing an affidavit. See e.g., United States v. McPhearson, 469 F.3d

518, 525 n. 3 (6th Cir. 2006) (“where the allegation of drug dealing is coupled with

independently corroborated information from police officers, it may be sufficient to establish

probable cause.”) I conclude the fact that SA McNelley was later terminated for “causing



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dissension” and improper use of a cell phone does not in any way undermine the sufficiency or

reliability of the information presented in the affidavit.

        I will now examine whether the affidavit itself sets forth probable cause. The United

States Court of Appeals for the Sixth Circuit has stated that “[t]he basic standards for a wiretap

are similar to those for a search warrant, but there also must be strict compliance with Title III of

the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520.” United

States v. v. Alfano, 838 F.2d 158, 161-62 (6th Cir. 1988); see also United States v. Weinrich, 586

F.2d 481, 487 (5th Cir.1978); United States v. Feldman, 535 F.2d 1175 (9th Cir.1976). The

Alfano court further discussed what standards were necessary to be in compliance:

        That Act was enacted for the purpose of regularizing and controlling the issuance
        of warrants for wiretaps. At the same time, we are instructed that there is no
        specific formula that must be met for a warrant, and that evidence must be judged
        on the totality of the circumstances and in a reasonable and common sense
        manner. Illinois v. Gates, 462 U.S. 213, 238 (1983). Under this standard, the
        question that must be decided in issuing a warrant is whether there is probable
        cause to believe that evidence of a crime will be uncovered.

Alfano, 838 F.2d at 161-62. Stated another way, for the issuance of a wiretap order, probable

cause is present if the totality of the circumstances reveals that there is a fair probability that a

wiretap will uncover evidence of a crime. United States v. Fairchild, 189 F.3d 769, 775 (8th Cir.

1999); United States v. Giacalone, 853 F.2d 470, 478 (6th Cir. 1988); United States v. LaPuma,

No. 88-2237, 1989 WL 125242 (6th Cir. Oct. 23, 1989); United States v. O’Leary, No. 86-5396,

1987 WL 36581, at 3 (6th Cir. Jan. 7, 1987).

        Within the affidavit, the following interceptees were named: Levar O. Williams, Adrius

S. Hickey, Everett Hollins, III, Dante Hickey, Omar Gash, Tynise Waters, Joshlyn Martin, and

Tony O. Hughes, and "others, having committed, are committing, and will continue to commit


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offenses" involving conspiracy to distribute and possess controlled substances, distribution of

controlled substances, use of communication facilities, laundering of money, interstate travel in

aid of racketeering, the illegal possession of firearms, and aiding and abetting the mentioned

offenses (See Affidavit, Doc. 352-1, pp. 4-5). In general, the affidavit stated the affiant and

other law enforcement officers from the DEA and the Cleveland Police Department had been

conducting an investigation into "large scale drug trafficking organization based in Bradley

County, Tennessee involving Levar Williams." (See Affidavit, Doc. 352-1, pp. 13). The affidavit

stated that Williams had been identified as a distributor and was a source of supply for

distributors in Bradley County. Id. The interceptees mentioned above were also listed as

members of the alleged drug trafficking organization. Id. Beginning on page 13, the affiant

listed certain activities of confidential sources identified as CS1 and CS2. In general, the

affidavit discussed various activities which included, but are not necessarily limited to, 25

controlled purchases of crack and 10 monitored and recorded conversations with Williams and

interceptors. (See Id. at pp. 13-14). The affidavit stated that CS1 had been a confidential source

for the Cleveland Police Department beginning June 2009 until the date of the affidavit. CS1

had also "signed up" as a confidential source for the DEA on July 9, 2009. The affidavit provided

an assertion and purported basis for CS1's reliability (See Id. at 14).   The affidavit also stated

that CS2 had monitored telephone conversations with Williams and interceptors and had been

interviewed on multiple occasions by relevant law enforcement agencies (Id. at 14). The affidavit

also asserted CS2's reliability and the purported basis for such a conclusion.

       Beginning on page 15 of the affidavit, a section labeled "The Investigation" can be found

which provides certain details including transcribed communications allegedly recorded when


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CS1 wore a recording device at controlled buys and conversations with co-defendants. Beginning

on page 29 of the affidavit, there is a description of events taking place on August 4, 2009 during

which Williams is allegedly taken to meet his source of supply or "SOS." Per the description, the

SOS drove a 2004 black Chevrolet Z-71 four-door pickup bearing Tennessee registration

785RPZ registered to Morgan Motor Company (Id. at p. 30; see also p. 31). The affidavit

further states on page 32 that photographs were clandestinely taken of the SOS in an August 6,

2009 meeting. On pages 32 and 33, another alleged SOS is described as living at 5510 O'Leary

Street, Chattanooga, Tennessee. Yet another SOS is described as driving a four-door gray

colored Honda bearing Tennessee registration 699CQF, registered to Seabron Battle, with a

known address (Id. at p. 33). On page 35, the affidavit appears to identify the principal SOS as

Juanzell Jenkins and an associate named Lemont "Boone" Patterson, both with known addresses

(Id. at 35).

               I conclude the numerous controlled buys and the other surveillance information,

provided ample probable cause for the issuance of the Wiretap.




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                                          IV. Conclusion

       For the reasons stated, I conclude and therefore RECOMMEND1 defendant’s motion to

suppress evidence from interception of wire communications [Doc. 330] be DENIED.



                                              s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




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 Any objections to this Report and Recommendation must be served and filed within fourteen (14)
days after service of a copy of this recommended disposition on the objecting party. Such
objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of Criminal
Procedure. Failure to file objections within the time specified waives the right to appeal the
District Court’s order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S. Ct. 466 (1985). The
district court need not provide de novo review where objections to this report and recommendation
are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir. 1986). Only specific
objections are reserved for appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d
1370 (6 th Cir. 1987).

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